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                       UNITED STATES COURT OF APPEALS
                          FOR THE FEDERAL CIRCUIT
                                  717 MADISON PLACE, N.W.
                                  WASHINGTON, D.C. 20439

PETER R. MARKSTEINER                                                          CLERK’S OFFICE
   CLERK OF COURT                                                              202-275-8000


                                     January 17, 2020

                               NOTICE OF DOCKETING


Federal Circuit Docket No.: 2020-1363

Federal Circuit Short Title: Evolved Wireless, LLC v. Samsung Electronics Co., Ltd.

Date of Docketing: January 17, 2020

Originating Tribunal: United States District Court for the District of Delaware

Originating Case No.: 1:15-cv-00545-JFB-SRF

Appellant(s): Evolved Wireless, LLC



    A notice of appeal has been filed and assigned the above Federal Circuit case number.
The court's official caption is included as an attachment to this notice. Unless otherwise
noted in the court's rules, the assigned docket number and official caption or short title
must be included on all documents filed with this Court. It is the responsibility of all
parties to review the Rules for critical due dates. The assigned deputy clerk is noted
below and all case questions should be directed to the Case Management Team at (202)
275-8055.

   The following documents are due within 14-days of this notice:

   •   Entry of Appearance. (Fed. Cir. R. 47.3.)
   •   Certificate of Interest. (Fed. Cir. R. 47.4.)
   •   Docketing Statement. Note: The Docketing Statement is due in 30 days if the
       United States or its officer or agency is a party in the appeal. (Fed. Cir. R. 33.1 and
       the Mediation Guidelines)
   •   Statement Concerning Discrimination in MSPB cases. (Fed. Cir. R. 15(c).)

PARTY FILING AND CONTACT INFORMATION: Each counsel representing a party
must be a member of the court's bar and registered for the court's electronic filing
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system. Fed. Cir. R. 25(a). Attorneys whose contact information has changed should
make all changes through their PACER service center profile.

Unrepresented parties must submit documents intended for filing to the court in paper.
However, motions and letters may be emailed to prose@cafc.uscourts.gov or faxed to 202-
275-9678. Unrepresented parties changing contact information must submit a letter or
updated Entry of Appearance with the new contact information.

OFFICIAL CAPTION: The court's official caption is attached and reflects the lower
tribunal's caption pursuant to Fed. R. App. P. 12(a), 15(a), and 21(a). Please review the
caption carefully and promptly advise this court in writing of any improper or inaccurate
designations.

                                             /s/ Peter R. Marksteiner
                                             Peter R. Marksteiner
                                             Clerk of Court

                                             By: T. Magruder, Deputy Clerk

Attachments:

   •   Official caption
   •   Paper Copies of General Information and Forms (to unrepresented parties only):
          o General Information and Overview of a Case in the Federal Circuit
          o Entry of Appearance
          o Informal Brief
          o Motion and Affidavit for Leave to Proceed in Forma Pauperis (only to filers
              owing the docketing fee)
          o Supplemental in Forma Pauperis Form for Prisoners (only to filers in a
              correctional institution)
          o Statement Concerning Discrimination




cc: United States District Court for the District of Delaware
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                                 Official Caption


                          EVOLVED WIRELESS, LLC,
                              Plaintiff-Appellant

                                         v.

       SAMSUNG ELECTRONICS CO., LTD., SAMSUNG ELECTRONICS
                        AMERICA, INC.,
                       Defendants-Appellees



                                  Short Caption

               Evolved Wireless, LLC v. Samsung Electronics Co., Ltd.
